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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                www.flmb.uscourts.gov

In re:                                              Case No.: 6:18-bk-06821-CCJ

DON KARL JURAVIN,                                   Chapter 7
Aka DON ADI JURAVIN

      Debtor.
_____________________________________________/

                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that true and correct copies of Amended Summary of Assets &

Liabilities, Schedules A-B, C, D, E/F, G, H, J, Statement of Financial Affairs and Declaration

About an Individual Debtor’s Schedules were served on January 16, 2018 via electronic notice

through CM/ECF system to all parties registered to receive notices via CM/ECF and via U.S. Mail,

postage pre-paid, to all non-ECF participants on the attached matrix on January 16, 2018.

Dated: January 16, 2019.

                                            /s/Denise D. Dell-Powell
                                            Denise Dell-Powell, Esquire
                                            Florida Bar No. 0890472
                                            Email: ddpowell@burr.com
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                                            Attorneys for Debtor, Don Karl Juravin




32836387 v1
                                Case 6:18-bk-06821-KSJ      Doc 17          Filed 01/16/19   Page 41 of 42
Label Matrix for local noticing                Bella Collina Property Owner’s Associat         DCS Real Estate Investments, LLC
113A-6                                         c/o Becker & Poliakoff                          636 U.S. Hwhy One
Case 6:18-bk-06821-CCJ                         100 Whetstone Place                             Suite 100
Middle District of Florida                     Suite 302                                       North Palm Beach, FL 33408-4611
Orlando                                        Saint Augustine, FL 32086-5775
Wed Jan 16 10:02:01 EST 2019
Mercedes-Benz Financial Services USA LLC       Anna Juravin                                    Bella Collina Property Owners Assoc Inc.
c/o Ed Gezel                                   15118 Pendio Drive                              c/o Aegis Community Mgmt Solutions, Inc.
Bk Servicing, LLC                              Montverde, FL 34756-3606                        8390 Championsgate Blvd., Suite 304
PO Box 131265                                                                                  Championsgate, FL 33896-8313
Roseville, MN 55113-0011

Ben-Zvi Law Firm                               Carl H. Settlemyer, III, Esq.                   Consumer Opinion Corp.
23 Bar-Cochva                                  Federal Trade Commission                        c/o Randazza Legal Group
Bnei-Brak, Israel                              600 Pennsylvania Avenue NW                      2764 Lake Sahara Drive, Suite 109
                                               Mail Drop CC-10528                              Las Vegas, NV 89117-3400
                                               Washington, DC 20580-0001

DCS Real Estate Investments, LLC               Dr. Free                                        (p)FEDERAL TRADE COMMISSION
c/o David M. Landis, Esq.                      11 Walnut Street, #12350                        ASSOCIATE DIRECTOR
PO Box 2854                                    Green Cove Springs, FL 32043                    DIVISION OF ENFORCEMENT
Orlando, FL 32802-2854                                                                         600 PENNSYLVANIA AVE NW MAIL DROP NJ-2122
                                                                                               WASHINGTON DC 20580-0001

Florida Department of Revenue                  Internal Revenue Service                        Internal Revenue Service
Bankruptcy Unit                                Centralized Insolvency Operation                Post Office Box 7346
Post Office Box 6668                           Post Office Box 7346                            Philadelphia PA 19101-7346
Tallahassee FL 32314-6668                      Philadelphia, PA 19101-7346


Julia Kalatusha                                Juvarin, Inc.                                   Karan Arora
32 Borochov                                    P. O. Box 560510                                12815 NW 45th Avenue
Tel Aviv, Israel                               Montverde, FL 34756-0510                        Opa Locka, FL 33054-5100



Lake County Tax Collector                      Mercedes-Benz Financial                         Mercedez-Benz Financial
Attn: Bob McKee                                P. O. Box 961                                   PO Box 961
Post Office Box 327                            Roanoke, TX 76262-0961                          Roanoke, TX 76262-0961
Tavares FL 32778-0327


Must Cure Obesity Co.                          Noam Ben Zvi                                    Opinion Corp.
15118 Pendio Drive                             10/93 Rishon Lezion Street                      c/o Randazza Legal Group
Montverde, FL 34756-3606                       Petachtiachba, Israel                           2764 Lake Sahara Drive, Suite 109
                                                                                               Las Vegas, NV 89117-3400


PSR Developers, LLLP                           Paul B. Spelman, Esq.                           Shay Zuckerman
3900 Centennial Drive                          Federal Trade Commission                        8 Babli Street
Suite C                                        600 Pennsylvania Avenue NW                      Tel Aviv, Israel
Midland, MI 48642-5996                         Mail Drop CC-10528
                                               Washington, DC 20580-0001

United States Trustee - ORL7/13                Zuckerman & Co.                                 Denise D Dell-Powell
Office of the United States Trustee            c/o Shay Zuckerman                              Burr & Forman LLP
George C Young Federal Building                HaYarkon St. 113                                200 S. Orange Avenue, Suite 800
400 West Washington Street, Suite 1100         Tel Aviv, Israel                                Orlando, FL 32801-6404
Orlando, FL 32801-2210
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Dennis D Kennedy                                     Don Karl Juravin
P. O. Box 541848                                     15118 Pendio Drive
Merritt Island, FL 32954-1848                        Montverde, FL 34756-3606




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Federal Trade Commission
600 Pennsylvania Avenue NW
Mail Crop CC-10528
Washington, DC 20580




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Mercedes-Benz Financial                           End of Label Matrix
PO Box 961                                           Mailable recipients    31
Roanoke, TX 76262-0961                               Bypassed recipients     1
                                                     Total                  32
